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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        )
    In re:                                                              )     Chapter 11
                                                                        )
    HONX, INC., 1                                                       )     Case No. 22-90035 (MI)
                                                                        )
                               Debtor.                                  )     Re: Docket No. 506
                                                                        )

                       NOTICE OF WITHDRAWAL OF DEBTOR’S MOTION
                            TO ENFORCE THE AUTOMATIC STAY


        On December 2, 2022, the above-captioned debtor and debtor in possession (the “Debtor”)
filed the Debtor’s Emergency Motion to Enforce the Automatic Stay and Motion for Entry of an
Order to Appear and Show Cause as to Why Elroy Williams and Bassali Williams are not in
Contempt of the Automatic Stay [Docket No. 506] (the “Motion to Enforce”), seeking an order
from the Bankruptcy Court enforcing the automatic stay with respect to the complaint filed against
Hess Corporation (“Hess”) by Elroy Williams and Bassali Williams (together, the “Williams
Plaintiffs”), by and through counsel, Peter J. Lynch Esq. of Fuller & Lynch Advocacy Group,
PLLC (FLAG LAW VI), on November 14, 2022 in the Superior Court of the Virgin Islands
(the “Superior Court”), styled as Williams, et al. v. Hess Corp., et al., No. SX-2022-CV-00521
(V.I. Super. Ct.) (the “Action”).

       On December 7, 2022, the Williams Plaintiffs filed a notice with the Superior Court to
voluntarily dismiss Hess without prejudice from the Action that is attached hereto as Exhibit A.

        On December 28, 2022, the Williams Plaintiffs filed the Response of Elroy Williams and
Bassali Williams to the Debtor’s Emergency Motion to Enforce the Automatic Stay and Motion for
Entry of an Order to Appear and Show Cause as to Why Elroy Williams and Bassali Williams are
not in Contempt of the Automatic Stay [Docket No. 565] and the Official Committee of Unsecured
Creditors also filed the Response of the Official Committee of Unsecured Creditors to the Debtor’s
Emergency Motion to Enforce the Automatic Stay and Motion for Entry of an Order to Appear and
Show Cause as to Why Elroy Williams and Bassali Williams are not in Contempt of the Automatic
Stay [Docket No. 567].

       On January 12, 2023, the Superior Court entered an order dismissing Hess from the Action
with prejudice (the “Superior Court Order”). The Superior Court Order is attached hereto as
Exhibit B. On January 23, 2023, the Williams Plaintiffs filed a motion requesting that the Superior
Court reconsider and amend the Superior Court Order to dismiss Hess without prejudice

1
      The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
      is HONX, Inc. (2163). The location of the Debtor’s service address in this chapter 11 case is: 1501 McKinney
      Street, Houston, Texas, 77010.
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(the “Superior Court Motion”), given that the notice attached hereto as Exhibit A sought to
dismiss Hess without prejudice. The Superior Court Motion is attached hereto as Exhibit C.

       Given the foregoing, the Debtor hereby withdraws the Motion to Enforce without
prejudice.




                                            2
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Houston, Texas
January 25, 2023

/s/ Matthew D. Cavenaugh
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                                              Co-Counsel to the Debtor
                                             and Debtor in Possession
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                                     Certificate of Service

        I certify that on January 25, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                             Exhibit A

                     The Superior Court Notice
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           IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. CROIX

Elroy Williams,               |        SX-2022-CV-00521
and Bassali Williams,         |
            Plaintiffs,       |
v.                            |        Complex Litigation Division
                              |
Hess Corporation,             |        Complaint for Damages
and Virgin Islands Industrial |
Maintenance Corp.,            |
                  Defendants |         Jury Trial Demanded


   NOTICE OF VOLUNTARY DISMISSAL AS TO HESS CORPORATION

      COME NOW the Plaintiffs Elroy Williams and Bassali Williams, by and

through undersigned counsel, and, pursuant to V.I. R. Civ. P. 41(a)(1)(A)(i),

hereby give notice of voluntary dismissal of this action as to Hess Corporation

(“Hess”), and say:

   1. Plaintiffs filed the above-captioned action on November 14, 2022.

   2. Neither Defendant has filed an answer or motion for summary

      judgment.

   3. As permitted by Rule 41(a)(1)(A)(i), Plaintiffs voluntarily elect to dismiss

      the action against Hess without prejudice.

December 7, 2022                       Respectfully submitted,

                                       Fuller & Lynch Advocacy Group, PLLC

                                       /s/ Peter J. Lynch
                                       Peter J. Lynch, Esq.
                                       VI Bar No. 1256
                                       FLAG LAW VI
                                       PO Box 303300
                                       St. Thomas, VI 00803
                                       (340) 201-3646
                                       pete@flaglawvi.com
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                              Certificate of Service

     I hereby certify, under penalties of perjury, that on this 7th day of
December, 2022, I served a copy of the foregoing on the below-listed
counsel, via the c-track electronic filing system:

Carl A. Beckstedt III, Esq.
Carolyn F. O’Connor, Esq.

                                       /s/ Peter J. Lynch
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                            Exhibit B

                     The Superior Court Order
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             IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                        District of St. Croix


Elroy Williams and Bassali Williams,                Case Number: SX-2022-CV-00521
                      Plaintiffs,                   Action: Toxic Tort
v.

Hess Corporation, and Virgin Islands
Maintenance Corp.,
                      Defendants.

                                        NOTICE of ENTRY
                                              of
                                            ORDER
 To:     Peter J. Lynch, Esq.
         Carl A. Beckstedt, III, Esq.
         Carolyn F. O'Connor, Esq.
         Ryan C. Stutzman, Esq.


                              Please take notice that on January 12, 2023
             a(n)                                 ORDER
                         dated       January 12, 2023        was/were entered
                                by the Clerk in the above-titled matter.

Dated:      January 12, 2023                                             Tamara Charles
                                                                        Clerk of the Court
                                                         By:




                                                                          Cheryl Parris
                                                                         Court Clerk III
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                             Exhibit C

                     The Superior Court Motion
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           IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. CROIX

Elroy Williams,              |          SX-2022-CV-00521
and Bassali Williams,        |
            Plaintiffs,      |
v.                           |          Complex Litigation Division
                             |
Virgin Islands Industrial    |          Complaint for Damages
Maintenance Corp.,           |
                  Defendant. |          Jury Trial Demanded


              MOTION TO RECONSIDER AND AMEND ORDER

      COME NOW the Plaintiffs Elroy Williams and Bassali Williams

(“Plaintiffs”), by and through their undersigned counsel, and file this Motion

to Reconsider the Court’s January 12, 2023 Order dismissing Defendant Hess

Corporation with prejudice, and say:

      On December 7, 2022, Plaintiffs filed a Notice of Voluntary Dismissal

as to Defendant Hess Corporation (the “Notice”). In paragraph 3 of the Notice,

Plaintiffs stated “As permitted by Rule 41(a)(1)(A)(i), Plaintiffs voluntarily elect

to dismiss the action against Hess without prejudice.” (Emphasis added.)

      Virgin Islands Rules of Civil Procedure provide, in pertinent part, that

“A motion to reconsider must be based on: (1) intervening change in

controlling law; (2) availability of new evidence; (3) the need to correct clear

error of law; or (4) failure of the court to address an issue specifically raised

prior to the court's ruling.” V.I. R. Civ. P. 6-4(b).   Also, “Unless the notice or

stipulation [of dismissal] states otherwise, the dismissal is without prejudice.”

V.I. R. Civ. P. 41(a)(1)(B) (emphasis added).
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Motion to Reconsider and Amend Order

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         On January 12, 2023, in an apparent inadvertent mistake, this Court

entered an Order not providing the relief Plaintiffs sought of dismissal without

prejudice, but instead dismissing the action against Hess Corporation with

prejudice.

         As this Court has previously held, “'the plaintiff is the master of the

complaint and has the option of naming those parties the plaintiff chooses to

sue.'" Burns v. Femiani, 786 F. App'x 375, 379 (3d Cir. 2019) (ellipsis omitted)

(quoting Lincoln Property Co. v. Roche, 546 U.S. 81, 91 (2005)). The plaintiff

also "selects the claims that will be alleged in the complaint. Some may be

substantially justified, others may not.         The plaintiff may abandon some

claims by an appropriate motion, or may offer no proof at trial to . . . support

of an element of a cause of action." United States v. Jones, 125 F.3d 1418,

1428-29 (11th Cir. 1997). But courts do not tell plaintiffs who to sue, what

claims to assert, or what facts to allege.”       Abraham v. St. Croix Renaissance

Grp., 2020 VI Super 21, *7-8 (V.I. Super. Ct. 2020).

         In the instant case, on November 22, 2022, Carolyn O’Connor, co-

counsel for Hess Corporation, represented to Plaintiffs, via email to the

undersigned, that Hess Corporation is protected from suit by a bankruptcy

stay.1    While Plaintiffs doubt that this position is accurate, on December 7,

2022, in an abundance of caution, Plaintiffs chose to file the Notice,



1 Non-party HONX, Inc. is a debtor in bankruptcy in the United States Bankruptcy Court in
the Southern District of Texas (BK 22-90035), and is a subsidiary of Hess Corporation.
Attorney O’Connor maintains that the bankruptcy stay for HONX, Inc. extends also to Hess
Corporation, a non-debtor, but to date has produced to Plaintiffs no court order which
would confirm this assertion.
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Motion to Reconsider and Amend Order

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voluntarily dismissing the instant complaint against Hess without prejudice,

until the question of a stay is resolved. The issue of whether the bankruptcy

stay of HONX, Inc. applies also to Hess is set to addressed at a February 16,

2023 hearing in Case No. 22-90035 in the United States Bankruptcy Court

for the Southern District of Texas (Houston). The resolution of this question

will determine whether Hess may be reinstated as a Defendant in the instant

action.   Without correction or amendment, the Court’s January 12, 2023

“with prejudice” dismissal would of course preclude such reinstatement, even

if the bankruptcy court were to agree with Plaintiffs that the HONX, Inc.

bankruptcy stay does not extend to Hess, a non-debtor.

      Because Plaintiffs clearly requested dismissal without prejudice, this

Court’s order dismissing Hess Corporation with prejudice qualifies as both a

“clear error of law” under 6-4(b)(3), and a “failure to address the request that

was made prior to the Court’s ruling” under 6-4(b)(4).

      WHEREFORE the Plaintiffs respectfully request that this Honorable

Court vacate or amend its January 12, 2023, Order, and enter a corrective

order, dismissing Hess Corporation without prejudice.

January 23, 2023                      Respectfully submitted,

                                       Fuller & Lynch Advocacy Group, PLLC

                                       /s/ Peter J. Lynch
                                       Peter J. Lynch, Esq.
                                       VI Bar No. 1256
                                       FLAG LAW VI
                                       PO Box 303300
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                                       pete@flaglawvi.com
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Motion to Reconsider and Amend Order

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                              Certificate of Service

      I hereby certify, under penalties of perjury, that on this 23rd day of
January, 2023, I served a copy of the foregoing on the below-listed counsel,
via the c-track electronic filing system:

Carl A. Beckstedt III, Esq.
Carolyn F. O’Connor, Esq.

Ryan Stutzman, Esq.

                                       /s/ Peter J. Lynch
